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                              EXHIBIT C




                              EXHIBIT C
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                        EXPERT REPORT OF DR. BRYAN PUKENAS

         I am an Associate Professor of Radiology and Neurosurgery at the University of
 Pennsylvania. I am a board-certified radiologist with a certificate of added qualification in
 Diagnostic Neuroradiology. In addition, I hold a CAST accreditation in CNS Endovascular
 Surgery. I am also Co-Director of the Neurointerventional Endovascular Fellowship at the
 University of Pennsylvania. My daily clinical practice consists of performing minimally invasive
 procedures of the brain and spine, as well as image interpretation, including but not limited to brain
 and spine Magnetic Resonance Imaging (MRI) examinations. I also teach residents and fellows in
 both didactic and one-on-one sessions. I have lectured and published academic works on a wide
 range of subjects about radiology and the practice of radiology both in the United States and
 internationally. My training and experience offer a unique insight as both a diagnostic radiologist
 interpreting MRI examinations and as a clinician treating patients with lumbar and cervical spine
 pain. As part of my work, I conduct peer reviews of other radiologists’ work in both an academic
 and clinical setting. I have provided opinions on radiological practice in numerous cases and have
 been engaged by both plaintiffs and defendants. Pursuant to Fed. R. Crim. P. 16(b), my CV is
 attached as Exhibit A and a list of cases in which I have testified as an expert at trial or by
 deposition in the past four years is attached as Exhibit B.

         I was asked by counsel for the Defendant, Dr. William Weiner, to offer opinions on
 standards and practices in radiology. I was also asked to examine independently each of the
 radiological examinations and reports that Dr. Weiner conducted of the persons identified in the
 Report and Supplemental Report of Dr. Scott S. Coyne, and to assess independently Dr. Coyne’s
 evaluations of Dr. Weiner’s reports (including his methodology). Finally, I was asked to offer my
 opinion as to whether Dr. Weiner’s work in these cases was consistent with the standard of care
 for a radiologist.

                                            Key Findings
         As requested, I reviewed the original MRIs and Dr. Weiner’s interpretive reports for the
 patients included in Dr. Coyne’s review,1 as well as Dr. Coyne’s Report and Supplemental Report.
 Unlike Dr. Coyne, I also considered the clinical information available to Dr. Weiner at the time he
 conducted the initial reads for these patients.

        I found Dr. Weiner’s reports in these cases to be within the standard of care for radiologists.
 Further, in my review of Dr. Weiner’s reports, I did not see evidence of a pattern of overreporting
 or exaggerating findings.2


 1
   I was unable to obtain readable images for the following patients reviewed in Dr. Coyne’s Report:
 D.D.; S.J.; Z.J.; M.K. For these patients I reviewed Dr. Coyne’s reported findings. The absence of
 these images does not change the substance of my opinions in this case.
 2
   As I explain further below, academic studies show that radiologists often disagree regarding
 particular findings when reading MRIs (and that radiologists often disagree with themselves
 when reading the same scan at different times). Here, although I disagreed with some of Dr.
 Weiner’s findings, our level of disagreement was consistent with that which is reported in the
 literature and in line with my own experience as a practitioner. Further, to the extent that I
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          Different radiologists often interpret the same scan in different ways. A particular image
 may have multiple different characteristics that can be interpreted as “findings” of greater or lesser
 medical significance. As a matter of general practice, radiologists should report both major and
 minor findings in their reports in order to provide treating physicians with as much information as
 possible. That said, there are still variations in terms of how sensitive and specific a radiologist
 will be when detecting and describing findings that should be included in a report. That variation
 is evident in comparing Dr. Coyne’s reads to Dr. Weiner’s. My overall assessment of their work
 is that they have differing sensitivity to reporting certain findings in addition to different styles of
 reporting those findings.

         In my opinion, Dr. Weiner’s practice of describing findings is consistent with the standard
 of care. In addition, the records provided to me reflect that he had access to clinical data when
 reviewing the scans. As discussed below, studies show that when radiologists have clinical data
 available to them when interpreting imaging, their overall rate of sensitivity to findings increases.
 Based on my review of the data, Dr. Weiner’s reads are consistent with ordinary radiological
 practice, even though I do not agree with all of his findings.

         Dr. Weiner’s use of clinical data appears to have resulted in more appropriate diagnoses in
 certain instances. For example, in one case of a 16-year-old girl reporting lower back pain, N.B.,
 Dr. Weiner’s use of clinical data likely led him to find and report an issue that both Dr. Coyne and
 another radiologist in Dr. Weiner’s office missed. In my opinion, this was an excellent read. It
 should be noted, however, that even though Dr. Weiner made an impressive finding in this
 instance, he actually also underreported the findings present in the scan. My review of the scan
 also detected an asymmetry in the psoas muscles surrounding the spine. In the scan, the left psoas
 muscle is oval-like in appearance whereas the right psoas muscle has a more rounded appearance.
 The rounded configuration of the psoas muscle can occur when the muscle is contracted, or flexed,
 and can occur when there is irritation and/or spasm from an injury. The additional finding of the
 right psoas muscle spasm supports the findings identified by Dr. Weiner.

         In contrast to Dr. Weiner’s use of clinical data, Dr. Coyne stated in his report that he did
 not review or consider clinical information on the patients whose images were presented to him
 for his review. Clinical information on a patient’s condition is an important part of interpreting
 diagnostic images in radiology. It is my experience, supported by the literature in the field of
 radiology, that consideration of patient clinical data prior to interpreting an image leads to better

 disagreed with Dr. Weiner, it was because, in nearly equal numbers, Dr. Weiner: (i) made
 findings that I would not have reported; or (ii) failed to make findings that I would have reported
 (for example, Dr. Weiner consistently failed to report findings suggesting degeneration relating
 to the facet joint—a set of conditions that could cause pain, particularly if aggravated by trauma).
 Similarly, I disagreed with Dr. Coyne’s findings both because he made findings that I would not
 have reported and because he failed to make findings that I would have. I should note that, in
 some instances, Drs. Weiner and Coyne both failed to identify findings that I would have made,
 such as in the case of patient E.H., who has a transitional lumbosacral vertebral segment on the
 left, a finding that can cause significant pain (Bertolotti syndrome), particularly after trauma.
 The following link describes this scenario: https://www.summitbrainandspine.com/emy-story.
 Finally, I noted that Dr. Coyne’s findings were inconsistent across the cases that he read more
 than once.

                                                    2
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 interpretations which, in turn, leads to more accurate diagnoses for patients. It is more likely that
 a physician will miss or underreport key findings when the patient’s clinical history is not provided.
 Dr. Coyne’s failure to report findings in certain cases might have prevented treatment for
 conditions that can cause significant pain to patients. In the case of the 16-year-old patient, N.B.,
 with a herniated disc, Dr. Coyne appears to have relied on his general assessment that “a herniated
 disc is an extremely rare finding in a 16-year-old patient.” That is true, but herniated discs do occur
 in this patient population, and this patient does appear to have one. Dr. Coyne would have been
 more likely to catch that had he considered the patient’s clinical history.3

         Dr. Coyne and Dr. Weiner have different reporting styles, including as it relates to
 causation or etiology. Dr. Coyne notes that certain findings were caused by pre-existing conditions
 or age-related degeneration (as opposed to trauma from an accident).4 In my practice, I typically
 report only the anatomical findings and avoid commenting on the etiology of findings that appear
 in a diagnostic scan. Likewise, as a treating physician, I prefer reports that include only anatomical
 findings and omit opinions regarding causation. Without understanding the clinical history and
 circumstances, it would be difficult for a radiologist to evaluate whether an imaging finding
 (traumatic, degenerative, or otherwise) is the etiology of a patient’s pain. As discussed above, a
 pre-existing injury might be exacerbated by a traumatic event. By contrast, Dr. Weiner’s reports
 do not comment on the etiology of his findings, which, as described above, is consistent with my
 practice.

         The stylistic reporting differences between Dr. Weiner and Dr. Coyne is evident for patient
 “W.J.” Dr. Weiner correctly found a syrinx (a type of spinal cyst) in the scan. Dr. Weiner’s report
 states: “A posttraumatic syrinx is not excluded. Follow-up until resolution.” From the notes, it
 appears that Dr. Weiner is not rendering a conclusion as to the cause of an injury; rather a post-
 traumatic syrinx is included in the differential diagnosis for this finding, but he is not categorically
 excluding trauma as a cause. Dr. Coyne, on the other hand, does render a conclusion as to the cause
 of the injury. Dr. Coyne admits that he neither has the patient’s clinical data, nor does he “have
 the date of the accident,” but still concludes that the syrinx “is most probably a chronic finding
 and is not acutely traumatic from a recent accident.”

         Dr. Coyne’s description of the etiology of injury sometimes has the effect of minimizing
 findings that may be of clinical significance.5 For example, for patient T.H., I disagree with Dr.
 Coyne’s description of the spinal cord as “normal” in signal and caliber. The patient’s spinal cord
 is not normal in caliber. In addition, because there are Modic degenerative changes, the bone
 marrow, by definition, is not normal in signal. In another patient, D.N., Dr. Coyne ascribes
 chronicity to the findings, which, in my opinion, is impossible to determine on the basis of the
 image.


 3
   In the case of Patient S.Z., without any clinical history aside from what is provided in the
 radiology report, Dr. Coyne speculates that straightening of cervical lordosis “may be positional
 and not from spasm.” Straightening of cervical lordosis may be secondary to pain, spasm, or
 positioning. There is no way to categorically deny any of these possibilities without the patient’s
 clinical history.
 4
   E.g., S.Z., E.H.
 5
   E.g., S.Z., D.N. (51 y/o), H.S., T.H., V.R.

                                                    3
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        Furthermore, I disagree with Dr. Coyne’s characterization of certain findings. For example,
 Dr. Coyne makes a finding of various degrees of “annular bulging,” which he describes as
 “developmentally normal” in his findings for multiple patients.6 “Developmentally normal” disc
 bulging never occurs.

          In other instances, Dr. Coyne criticizes Dr. Weiner for his use of certain terminology that
 has the same meaning as the term Dr. Coyne prefers. For example, for patient V.R., Dr. Coyne
 states that Dr. Weiner’s read that the scan shows an “annular tear” is incorrect and states that there
 is an “annular fissure” present instead. This is semantics. A tear and a fissure describe the same
 condition. Annular Disc Tear. Steven Tenny; Christopher C. Gillis. Treasure Island
 (FL): StatPearls Publishing; 2023 Jan.7

         In rendering both conclusory determinations about cause and in failing to consider patient
 clinical information, it is my opinion that Dr. Coyne’s methodology is inappropriate. If used in a
 clinical setting, Dr. Coyne’s approach would likely lead to reports that are more confusing and less
 useful for patients and treating physicians.

                               Standards and Practices in Radiology

         A radiologist is a medical doctor who uses imaging (X-ray, CT, MRI, etc.) to “look inside
 the body” and diagnose disease. Radiologists are often referred to as “doctors’ doctors”; by using
 imaging, they help other physicians detect and confirm clinical suspicions or suspected diagnosis.
 This is called clinical correlation – correlating imaging findings to support or refute a suspected
 diagnosis. One of the most powerful tools in the imaging armamentarium of radiologists is
 Magnetic Resonance Imaging (MRI). MRI can non-invasively look inside the body and
 differentiate bodily structures in a unique way, such as showing the spinal nerves, disks, and
 degenerative changes in a lumbar spine. Correctly interpreting MRI examinations takes years of
 training.

         Even experienced radiologists can and do have differing opinions when it comes to
 interpreting MRI examinations. For example, one study found that, when interpreting cervical
 spine MRIs, absolute inter-rater agreement can range from 54.6% to 95%. The Spine Journal 16
 (2016) 42-48. In layman’s terms, this means that when different radiologists interpret the same
 MRI scan, their findings can differ up to 54.6% of the time. In another study, in which 10 different
 radiologists read MRIs from the same patient, researchers found high levels of variability and high
 rates of interpretive errors in the reported interpretive findings. The Spine Journal 17 (2017) 554-
 561. “The fact that no interpretive finding was reported unanimously by the radiologist at all
 centres and that one-third of all reported findings only appeared once across all 10 study
 examination reports indicates that there is at best significant difference in the standards employed
 by radiologists…and at worst significant prevalence of interpretive errors.”

 6
   E.g., S.Z., S.M. (27 y/o), C.C., R.I.
 7
   Relatedly, in several instances, Dr. Weiner reported a disc “herniation” where I would have
 reported a disc “bulge.” This difference may be the product of training. Historically, variable
 terms have been used to describe disk pathology, including herniation and bulging. More
 recently, there has been a movement towards using a standardized lexicon when describing disk
 pathology.

                                                   4
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 https://spinalnewsinternational.com/alarmingly-high-number-of-interpretive-errors-and-
 inconsistencies-in-mri-examinations/.

         Errors, discrepancies and confounding biases are integral parts of the daily routine for
 radiologists and can cause various unexpected clinical consequences. It is obvious that radiological
 assessment of imaging examinations is a part of overall patient management that may be limited
 due to the diagnostic utility of the imaging technique and referral information. Therefore,
 radiological reports should not be expected always to be complete and correct or be regarded as
 the only tool to identify, confirm, or exclude the diagnosis [1, 3]. Onder, O., Yarasir, Y., Azizova,
 A. et al. Errors, discrepancies and underlying bias in radiology with case examples: a pictorial
 review. Insights Imaging 12, 51 (2021).

          Once radiologists observe findings, they must communicate these findings in a formal
 report as part of the medical record. Compared with the systematic accumulation of medical facts
 that pertain to the practice of radiology, crafting a radiology report is a more artisanal, reflective,
 and creative process. The complex relationship among the patient, treatment team, and radiologist
 also contributes to patterns of problematic reporting. Radiologists frequently have to interpret an
 imaging study with limited clinical data and without the opportunity to personally assess the
 patient. Despite the ordering provider’s expectation for the radiologist to deliver a clear answer to
 the clinical question, a definitive diagnosis may be out of reach because of inherent limitations of
 the modality, imaging findings that lack specificity, or even technical inadequacies of the study.
 Some radiologists may be tempted to cope with this uncertainty by simply restating findings,
 employing excessive qualifying language, shifting responsibility back to the ordering provider, or
 providing vague recommendations (9,10) RadioGraphics 2020; 40:1658–1670. It should be noted
 that terminology in radiological reporting is sometimes inconsistent and certain radiologists tend
 to favor certain terms over others (e.g., using the word “tear” over the word “fissure”). In today’s
 world, where patients have almost immediate access to their medical record, radiologists are
 encouraged to utilize fewer technical terms in favor of more commonly used language that can be
 understood by patients.

       Despite inherent variability in the structure and content of radiology reports, it has been
 shown that the addition of clinical information improves sensitivity of reporting, increasing from
 38% to 84%, 67% to 73% and 38% to 52%. J Med Radiat Sci 68 (2021) 60–74.8 Put differently,



 8
     The context in which a radiologist is reviewing an image may also influence results. For
 example, while use of clinical data in reading images is preferable, there is literature suggesting
 it can lead to “framing bias,” which, for radiologists, “commonly results from the influence that
 the clinical history or reason for examination has on image interpretation.” See Jason N. Itri and
 Sohil H. Patel, Heuristics and Cognitive Error in Medical Imaging, American Journal of
 Roentgenology (March 12, 2018), https://ajronline.org/doi/10.2214/AJR.17.18907. Framing bias
 may also help to explain some of the differences of opinion between me and Drs. Weiner and
 Coyne, respectively. Dr Weiner interpreted these MRIs in a clinical context where patients
 complained of pain following trauma. Dr. Coyne interpreted these MRIs after the fact, without
 clinical data, at the request of law-enforcement authorities. I interpreted these MRIs after the
 fact, with the benefit of clinical data, at the request of defense counsel. These differing contexts

                                                   5
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 these statistics indicate that patient-specific clinical information allows a radiologist to make more
 accurate and clinically relevant diagnoses. The standard of care for reporting of findings is such
 that all clinically significant findings must be reported. Failure to report findings could result in
 denial of care to a patient in need. Usually, major findings are summarized in the “Impression”
 section of a report, but it is not uncommon for individual radiologists to include both major and
 minor findings in this same section of the report.
         When a radiologist receives additional clinical information indicating that they may have
 missed certain findings, the normal course is to review the scan. Whether this review is performed
 by the original radiologist or a new radiologist is often a matter of practice preference for a specific
 doctor or institution. There is nothing per se unusual about a practitioner re-reading a scan and
 providing an addendum.
         It is uncommon in my daily practice for radiologists to opine on the cause or severity of
 pain or injury. For example, I typically do not make assumptions in my reports indicating whether
 a particular finding was caused by a specific traumatic incident. These determinations are beyond
 the scope of a typical report – and for good reason. Radiologists rarely have access to the type of
 information – even if they are relying upon clinical data – to determine whether an injury was
 caused or exacerbated by a specific event or even if the imaging findings existed prior to the event
 precipitating the scan.


 Date: December 22, 2023


                                                                Bryan Pukenas, M.D.


 Attachments: Exhibit A – Curriculum Vitae; Exhibit B – List of Testimony




 are important because the literature suggests that radiologists have a tendency to be influenced
 by how a question is asked or how a problem is presented. Id.

                                                    6
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                             Exhibit A
                             Exhibit A
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             UNIVERSITY OF PENNSYLVANIA - PERELMAN SCHOOL OF MEDICINE
                                   Curriculum Vitae

                                                                                         Date: 01/12/2023

                                           Bryan A. Pukenas, MD

Address:                     Hospital of the University of Pennsylvania
                             3400 Spruce Street, 219 Dulles
                             Philadelphia, PA 19104 USA

If you are not a U.S. citizen or holder of a permanent visa, please indicate the type of visa you have:
                            none (U.S. citizen)

Education:
                    1999      BA            West Virginia University (Biology)
                    2003      MD            West Virginia University School of Medicine (Medicine)

Postgraduate Training and Fellowship Appointments:
                  2003-2004            Resident in Internal Medicine, Thomas Jefferson University
                                       Hospital
                  2004-2008            Resident in Diagnostic Radiology, Hospital of the University
                                       of Pennsylvania
                  2008-2009            Fellow in Diagnostic Neuroradiology, Hospital of the
                                       University of Pennsylvania
                  2009-2010            Fellow in Interventional Neuroradiology, Hospital of the
                                       University of Pennsylvania
                  2010                 Visiting Fellow in Interventional Neuroradiology, Johns
                                       Hopkins University

Military Service:
                    [none]

Faculty Appointments:
                2009-2010                   Instructor A, Hospital of the University of Pennsylvania,
                                            School of Medicine, Department of Radiology
                    2011-2021               Assistant Professor of Neurosurgery, University of
                                            Pennsylvania School of Medicine (Secondary)
                    2011-2021               Assistant Professor of Radiology at the Hospital of the
                                            University of Pennsylvania, University of Pennsylvania
                                            School of Medicine
                    2021-present            Associate Professor of Radiology at the Hospital of the
                                            University of Pennsylvania, University of Pennsylvania
                                            School of Medicine
                    2021-present            Associate Professor of Neurosurgery, University of
                                            Pennsylvania School of Medicine (Secondary)

Hospital and/or Administrative Appointments:
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                  2009-present         Attending, Hospital of the University Pennsylvania
                  2009-present         Active, Penn Presbyterian Medical Center
                  2010-present         Active, Pennsylvania Hospital
                  2012-present         Associate, Children's Hospital of Philadelphia
                  2020-present         Attending, Virtua Health
                  2022-present         Fellowship Co-Director, Endovascular Neurosurgery Program,
                                       University of Pennsylvania

Other Appointments:
                [none]

Specialty Certification:
                   2008                American Board of Radiology
                   2014                American Board of Radiology, Certificate of Added
                                       Qualification, Neuroradiology
                  2019                 The Society of Neurological Surgeons Committee on
                                       Advanced Subspecialty Training, Neuro Endovascular Surgery

Licensure:
                  2009-Present         New Jersey State Medical Board
                  2010-Present         Pennsylvania State Medical Board
                  2010-Present         Federal DEA - Pennsylvania
                  2011                 Delaware State Medical Board
                  2020-Present         Federal DEA - New Jersey

Awards, Honors and Membership in Honorary Societies:
                2002                Alpha Omega Alpha
                2011                Philips Academic Faculty Development Program, Association
                                    of University Radiologists
                2021                Neuroradiology Fellow Research/Innovation Award;
                                    Mentored Dr. Kofi-Bauku Atsina - Transforaminal approach
                                    for intra-thecal drug administration

Memberships in Professional and Scientific Societies and Other Professional Activities:
  International:
2012-Present     Radiological Society of North America (Educational Exhibits Committee (2019))

2012-Present      Society of Neurointerventional Surgery (Senior Member)

  National:
2004-Present      Radiological Society of North America

2008-2016         American College of Radiology

2009-Present      American Society of Neuroradiology (Program Committee (2014-present), Research
                  Committee (2013-present))
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2010-Present      American Society of Spine Radiology

2011-2013         Association of University Radiologists

2012-Present      Ivy League Big Ten Concussion Research Collaboration (Member)


Editorial Positions:
                   2010-present   Ad hoc peer reviewer, Neurosurgery
                   2012-present   Ad hoc peer reviewer, Radiographics
                   2013-present   Ad hoc peer reviewer, Journal of Neurology, Neurosurgery and
                                  Psychiatry
                  2013-present    Ad hoc peer reviewer, Journal of Neuro Interventional Surgery
                  2014-present    Ad hoc peer reviewer, PLOS ONE
                  2014-present    Ad hoc peer reviewer, Academic Radiology

Academic and Institutional Committees:
                 2008-2010      ER After Hours Committee, Member
                 2012-2013      Musculoskeletal Radiology Section Chief Committee, Member
                 2012-2013      Neuroradiology Section Chief Search Committee, Member
                 2012-Present   Neuroradiology Case Conference Planning Committee, Member
                 2013-2015      UPHS Radiology Workshop, Invited member
                 2016-Present   Radiology Quality Assurance Committee, Neuroradiology
                                Representative
                 2016           Organizer/Proctor - RegenexBio Clinical Trial Summit Meeting
                                Cadaver Lab - organized cadaver lab for CT guided suboccipital
                                puncture training (integral portion of gene therapy program)
                 2017           Organizer/Proctor - Biogen SMA Clinical Trial Summit Meeting
                                Cadaver Lab - organized cadaver lab for CT guided suboccipital
                                puncture training (integral portion of gene therapy program)
                 2018-2021      Penn Radiology Faculty Wellness Committee
                 2019           Organizer/Proctor - Prevail Therapeutics Clinical Trial Summit
                                Meeting Cadaver Lab - organized cadaver lab for CT guided
                                suboccipital puncture training (integral portion of gene therapy
                                program)
                 2022-Present   Member, Neuroradiology Fellowship Program Evaluation
                                Committee

Major Academic and Clinical Teaching Responsibilities:
                2010            Lecture - "Interventional Stroke Management", Department of
                                Radiology Nursing Staff, HUP
                2010-Present    Grand Rounds - HUP Department of Radiology - "An
                                Interventionalist's Approach to Atherosclerosis" |
                                "Neurointerventional CT" | "QI review" - Bi-Annual
                2010-2012       Lecture - "Interventional Neuroradiology Understanding the
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                             Diseases, Improving the Future", Wharton School of Business,
                             Bi-Annual
              2010-Present   Neuroradiology Fellow Didactic Lecture Series - "Interventional
                             Spine Techniques" | "Neurovascular" | "Spinal Interventions" |
                             "Vascular Emergencies" | "Interventional Neuroradiology"
                             |"Radiation Safety in the IR Suite" | "Update in Neuroradiology" |
                             "Burnout in Radiology" | "Neuroradiology" | "Carotid Interventions"
                             | "Spinal anatomy, and DJD" | HUP - Three times/year
              2010-2016      Penn CME Course - Neuroradiology Review - Medicine Rescue
                             Services CME event for EMS responders "After the drop off - What
                             happens to the acute stroke patient and why" - Montgomery County
                             Fire Academy, Conshohocken, PA
              2010-2016      Penn CME Course - Neuroradiology Review - "Normal Spine
                             Anatomy" | "Spine Anatomy and Degenerative Change" | "An
                             Endovascular View of Atherosclerosis from the Neck Up" | "Spinal
                             Interventions" |"Acute Stroke Intervention" | Philadelphia, PA - Bi
                             Annual
              2010-Present   Multidisciplinary Case Reviews, HUP - Annual
              2011-Present   Multidisciplinary Resident Didactic Lecture Series - "Basic
                             Neuroradiology" | "Imaging and Treatment of Stroke" |
                             "Neurovascular" | "Acute Emergency Cerebrovascular Imaging" |
                             "Neurointerventional" | "Spine Anatomy and DJD" |
                             "Neuroradiology" | "Normal Spine Anatomy DJD, and Trauma" |
                             "MRI for the Non-Radiologist" | HUP - Six times a year
              2011-Present   Lecture - "Venous Anatomy: Normals, Variants, Pathology" |
                             "Stroke Imaging and Interventions" | Neuroradiology Board Review
                             Course | HUP - Annual twice per year
              2012           Lecture - "Introduction to Interventional Neuroradiology",
                             Advanced Procedures course, University of Pennsylvania X-ray
                             technologist school
              2013           Lecture - "Interventional Neuroradiology", Advanced Radiologic
                             Procedures Class, RT Education Program, HUP
              2014-2015      Mentoring - Cheryl Liu, Penn Engineering Student | Outcome:
                             Summer research project involving novel biopsy needle design.
                             Research for Regenxbio grant "Intra Cisterna Magna Administration
                             Technique Investigator Training on Human Cadavers" (2016).
              2014           Lecture - "Imaging of Concussion", Children's Hospital of
                             Philadelphia Second Annual Diagnosis and Management of
                             Concussion:Acute and Specialized Therapy Across the Spectrum,
                             Philadelphia, PA
              2015           Lecture - "Nursing care for Neurointerventional CT", Nurse
                             In-Service, HUP Radiology
              2015-Present   Workshop - Office of Life Support Education (OLSE)
                             R.E.A.D.(Radiologic Education, Assessment & Discussion) -
                             "Imaging of Traumatic Brain Injury" | "Emergency Head CT from a
                             Radiologist's perspective" | "Emergency Head CT case conference" |
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                                    PPMC Trauma Center, Bi-Annual
                  2016              Grand Rounds - HUP Department of Neurosurgery -
                                    "Evidence-based Endovascular Stroke Therapy - Finally"
                  2016-Present      Course Lecturer - Frontiers in Radiology - FRO521 "Introduction to
                                    Interventional Neuroradiology" | "Neurointerventional CT" | "Acute
                                    Stroke Interventions" | "Frontiers in Interventional Neuroradiology" |
                                    HUP - Annual
                  2017              Lecture - "Interventional Neuroradiology", 1st Annual Philadelphia
                                    IR Symposium
                  2018              Grand Rounds - Abramson Cancer Center - "State of
                                    the Art in Management of Spine Metastases"
                  2018-2019         Penn CME course - Diagnosis in the Neuraxis - "Practical Anatomy
                                    of the Spine and Spinal Cord" | "Spine Infections" - Philadelphia, PA
                                    - Annual
                  2018              Lecture - "A Novel Minimally Invasive Intrathecal Catheterization
                                    Approach for Cisterna Magna Access via Lumbar Puncture" | ULAR
                                    Training Division Laboratory Animal Surgical Seminar & Vendor
                                    Fair, HUP
                  2019-Present      Workshop - SIGN - Student Interest Group in Neurology -
                                    Question/Answer lunch hour session, Annual
                  2019-Present      Course Lecturer - Frontiers in Medical Sciences - Frontiers of
                                    Biomedical Entrepreneurship - "My experience inventing a medical
                                    device", HUP - Annual
                  2021-Present      How to perform a suboccipital puncture non-human primate cadaver
                                    training session; June 21, 2021.
                  2021              UPenn Resident Lecture "Spine Anatomy" October 1, 2021

Lectures by Invitation (Last 5 years):
                  May, 2018         "Interventional Management of Stroke", Lancaster General Hospital
                                    Stroke Nursing Conference, Lancaster, PA
                  Jun, 2018         "Radiology burn-out, how it affects the new generation of
                                    radiologists", American Society of Neuroradiology Annual Meeting,
                                    Vancouver, British Columbia, Canada
                  Mar, 2021         "How to perform a suboccipital puncture - didactic and cadaver lab",
                                    L'institut de chirurgie guidée par l'image de Strasbourg (Institute of
                                    Image-Guided Surgery), Strasbourg, France
                  Mar, 2021         "How to perform a suboccipital puncture" Saint Peter's University
                                    Hospital, New Brunswick, NJ, USA
                  Apr, 2021         "How to perform a suboccipital puncture - didactic and head model
                                    lab", Royal Manchester Children's Hospital, Manchester, England
                                    (virtual presentation)
                  Jun, 2021         "How to perform a suboccipital puncture - proctor for first in human
                                    gene therapy injection for GM1 gangliosidosis" Royal Manchester
                                    Children's Hospital, Manchester, United Kingdom
                  Sep, 2021         "How to perform a modern day suboccipital puncture." Tel Aviv
                                    Medical Center, Tel Aviv, Israel. (virtual presentation)
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                  Sep, 2021       "How to perform a suboccipital puncture - Didactic and hands on
                                  training." Great Ormond Street Children's Hospital, London,
                                  England.
                  Sep, 2021       "How to perform a suboccipital puncture - Didactic and hands on
                                  training." Queen Square Imaging Center, London, England.
                  Sep, 2021       "How to perform a suboccipital puncture" UPMC Children's
                                  Hospital of Pittsburgh, Pittsburgh, PA, USA
                  Nov, 2021       "How to perform a suboccipital puncture - didactic and cadaver lab",
                                  L'institut de chirurgie guidée par l'image de Strasbourg (Institute of
                                  Image-Guided Surgery), Strasbourg, France
                  Nov, 2021       "How to perform a suboccipital puncture - didactic and cadaver lab",
                                  L'institut de chirurgie guidée par l'image de Strasbourg (Institute of
                                  Image-Guided Surgery), Strasbourg, France (two separate lectures in
                                  November)
                  May, 2022       "How to perform a suboccipital puncture - didactic and cadaver lab",
                                  L'institut de chirurgie guidée par l'image de Strasbourg (Institute of
                                  Image-Guided Surgery), Strasbourg, France
                  Sep, 2022       "What's old is new, the suboccipital puncture for gene therapy"
                                  Society for Pediatric Interventional Radiology, 10th International
                                  Meeting; Galway, Ireland

Organizing Roles in Scientific Meetings:
                 Nov, 2011        Panelist, 97th Scientific Assembly and Annual Meeting,
                                  Radiological Society of North America
                                  Chicago, IL
                 Nov, 2012        Panelist, 98th Scientific Assembly and Annual Meeting,
                                  Radiological Society of North America
                                  Chicago, IL
                 Dec, 2013        Panelist, 99th Scientific Assembly and Annual Meeting,
                                  Radiological Society of North America
                                  Chicago, IL
                  2014            Program Committee Member, 2015 Annual Meeting, American
                                  Society of Neuroradiology
                                  Chicago, IL
                 Dec, 2014        Panelist, 100th Scientific Assembly and Annual Meeting,
                                  Radiological Society of North America
                                  Chicago, IL
                 Dec, 2015        Panelist, 101st Scientific Assembly and Annual Meeting,
                                  Radiological Society of North America
                                  Chicago, IL
                 Dec, 2021        Neurocrine Biosciences, Inc. PD1102, PD1104, and PD1105 Data
                                  Safety Monitoring Board External Radiology Consultant
                                  virtual meeting, December 9, 2021

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                  independent of intracranial hypertension and low cerebral perfusion pressure.
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           6. Schwartz Adam B, Siddiqui Gina, Barbieri John S, Akhtar Amana L, Kim Woojin,
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                  Ramchandani Parvati, Lev-Toaff Anna S, Tobey Jennifer D, Torigian Drew A,
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                  the evaluation of chest X-rays. Journal of telemedicine and telecare 20(8):
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           7. Nabavizadeh S Ali, Vossough Arastoo, Ichord Rebecca N, Kwiatkowski Janet,
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                  Journal of Neurointerventional Surgery 8(4): 434-431, April 2015.

           8. Cloran Francis J, Pukenas Bryan A, Loevner Laurie A, Aquino Christopher, Schuster
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                   clinical presentation with analysis of treatment algorithm and clinical outcomes.
                   The British journal of radiology Page: 20140771, Aug 2015 Notes: **Co-first
                   author (Dr. Cloran was a trainee).
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                  human-acquired immunodeficiency virus-infected adults: Imaging case series and
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           10. Nabavizadeh Seyed Ali, Mamourian Alexander, Schmitt James E, Cloran Francis,
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           11. Plastaras Christopher T, Popescu Adrian, McLaughlin Coleen A, Sanderson Sean O,
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                  bone. Diagnostic cytopathology 45(7): 608-613, July 2017 Notes: Epub 2017 May
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           17. Cox Mougnyan, Sedora-Román Neda Isabel, Pukenas Bryan, Kung David, Hurst
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                  Endovascular treatment for acute basilar thrombosis via a transradial approach:
                  Initial experience and future considerations. Interventional neuroradiology :
                  journal of peritherapeutic neuroradiology, surgical procedures and related
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           20. Mougnyan Cox, Kofi-Buaku Atsina, Neda I. Sedora-Roman, Bryan A. Pukenas,
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                 Tensor Imaging and Fluid Based Biomarkers in a Large Animal Trial of
                 Cyclosporine in Focal Traumatic Brain Injury. J Neurotrauma Neurotrauma,
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          29. Sundararajan SH, Cox M, Sedora-Roman N, Ranganathan S, Hurst R, Pukenas B.:
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                 Technique, Safety, and Utility in 12 Patients. Cardiovasc Intervent Radiol January
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                 Neurothrombectomy: Matched Analysis of Rescue Intracranial Stenting Versus
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                 Preethi Ramchand, Bryan A. Pukenas, David Kung, Robert Hurst, Omar
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                 Highly Visible Wallâ€•Timer to Reduce Endovascular Treatment Time for
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                Matsoukas S, Kuybu O, Gross BA, Lang M, Narayanan S, Cortez GM, Hanel RA,
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          2. Pukenas Bryan: Normal brain anatomy on magnetic resonance imaging. Magnetic
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          4. Chandra Tushar, Pukenas Bryan, Mohan Suyash, Melhem Elias: Contrast-enhanced
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          5. Kosty Jennifer, Pukenas Bryan, Smith Michelle, Storm Phillip B, Zager Eric, Stiefel
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                 Co-first author (Jennifer Kosty was a medical student).

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          2. Osama O Zaidat1, Ricardo A Hanel, Eric A Sauvageau, Amin Aghaebrahim, Eugene
                 Lin, Ashutosh P Jadhav, Tudor G Jovin, Ahmad Khaldi, Rishi G Gupta, Andrew
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                  SR, Kung D, Pukenas B, Hurst RW: Artery of Davidoff and Schechter: A rare yet
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                             Exhibit B
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